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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF NEW YORK


 DONALD J. TRUMP and TRUMP
 ORGANIZATION LLC,

                               Plaintiffs,

                v.                                       Case No. 1:21-cv-1352 (BKS)(CFH)

 LETITIA JAMES, in her official capacity
                                                         NOTICE OF MOTION
 as Attorney General for the State of New
 York,                                                   Oral argument requested

                                Defendant.


       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and

declaration of Colleen K. Faherty, and the exhibits annexed thereto, Defendant Letitia James,

Attorney General of the State of New York, sued in her official capacity, will move this Court

before the Honorable Brenda K. Sannes, United States District Judge, at the James M. Hanley

Federal Building & United States Courthouse, 100 S. Clinton St., Syracuse, New York, 13261, on

a date set by the Court, for an order dismissing the complaint pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6), and for such further relief as this Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that Defendant requests oral argument on the

motion to dismiss based on the need to help familiarize the Court with the facts and procedural

history of the related ongoing state court proceedings involving Defendant’s investigation of

allegations of Plaintiffs’ fraud and misrepresentation that is pending in New York Supreme Court,

entitled People v. The Trump Organization, Index No. 451685/2020 (the “NY Proceeding”), as

well as to advise the Court about the status of cross-motions filed in the NY Proceeding, which are

scheduled for oral argument on February 17, 2022, concerning compliance with an administrative
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subpoena served by Defendant on Plaintiff Donald J. Trump in December 2021 in connection with

Defendant’s investigation.

          PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 7.1(a)(1), any

opposing affidavits and answering memoranda shall be served within twenty-one days after service

of these moving papers; and reply papers due no more than seven days after service of the response

papers.



Dated: New York, New York
       January 26, 2022
                                                    LETITIA JAMES
                                                    Attorney General
                                                    State of New York

                                                    /s/ Colleen K. Faherty___
                                                    Colleen K. Faherty
                                                    Assistant Attorney General
                                                    NDNY Bar Number 703288
                                                    Andrew S. Amer (admitted pro hac vice)
                                                    Special Counsel
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                                                    Attorney for Defendant



To: Alina Habba, Esq. (via ECF)
    Counsel for Plaintiffs
